            Case 1:17-cv-00507-SS Document 1 Filed 05/26/17 Page 1 of 4




                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

DREW ABBE                      §
    Plaintiff,                 §
                               §
vs.                            §                              1:17-CV-00507
                               §                              Civil Action Number
STATE AUTO PROPERTY & CASUALTY §
INSURANCE COMPANY              §
     Defendant.                §                              Jury
                               §

                          DEFENDANT
                                  ' S NOTICE OF REMOVAL

TO THE HONORABLE JUDGE OF SAID COURT:

       Defendant, State Auto Property & Casualty Insurance Company ("State Auto"), files this

Notice of Removal pursuant to 28 U.S.C. §1446(a), and respectfully shows as follows:

                                              I.
                                        INTRODUCTION

1.     Plaintiff is Drew Abbe (hereinafter "Plaintiff'); Defendant is State Auto Property &

Casualty Insurance Company (hereinafter "State Auto" or "Defendant"). There are no other

parties. See Plaintiff's Original Petition, attached as Exhibit"A - 1".

2.     On Februrary 13, 2017, Plaintiff filed Cause No. 17-0174-C425, Drew Abbe vs. State

Auto Property & Casualty Insurance Company in the 425th Judicial District Court of Williamson

County, Texas ("State Court Action"). See Exhibit "A - 1". Plaintiff's suit alleges breach of

contract, violations of the Texas Insurance Code, violations of the Texas Deceptive Trade

Practices Act, and bad faith, relating to damage allegedly suffered at Plaintiff's property located

at 904 Meadow Ridge Loop, Georgetown, Texas 78626. See Exhibit "A - 1". State Auto

demands a trial by jury in its Original Answer filed contemporaneously herewith.




DEFENDANT'S NOTICE OF REMOVAL                                                                Page 1
            Case 1:17-cv-00507-SS Document 1 Filed 05/26/17 Page 2 of 4



3.      A citation was issued and State Auto Property & Casualty Insurance Company was

served on May 5, 2017. See Exhibit "A — 4" and Affidavit of Frank Nania attached as Exhibit

"B". State Auto files this Notice of Removal within the 30-day time period required by 28

U.S.C. §1446(b). Bd. ofRegents of Univ. of Tex. Sys. v. Nippon Tel. & Tel. Corp., 478 F.3d 274,

278 (5th Cir. 2007).

4.      Plaintiff has not filed any amended pleadings and no additional parties have been joined.

The 425th Judicial District Court of Williamson County has advised that no docket sheet exists.

                                     II.
                   REMOVAL BASED ON DIVERSITY JURISDICTION

5.       Pursuant to 28 U.S.C. §1332(a), State Auto removes this case as it involves a

controversy between parties of diverse citizenship and an amount in controversy that exceeds

$75,000.

6.       Plaintiff is a citizen of Texas. See Exhibit "A - 1". State Auto is a foreign corporation

organized under the laws of the state of Iowa with its principal place of business located at 518

E. Broad Street, Columbus, Ohio 43215. See Exhibit "B."

7.       Additionally, the amount in controversy exceeds $75,000, excluding interest and costs.

28 U.S.C. §1332(a). Plaintiff's Original Petition seeks "monetary relief over $100,000 but not

more than $200,000." See Exhibit"A — 1."

8.       State Auto is the only defendant in this action; therefore, no consent is needed for the

removal ofthis case to federal court.

9.       An Index of Exhibits is attached as Exhibit "A". Copies of all pleadings, process,

orders, and other filings in the State Court Action are attached to this notice as Exhibits "A - 1"

through "A — 4" as required by 28 U.S.C. §1446(a).




DEFENDANT'S NOTICE OF REMOVAL                                                               Page 2
             Case 1:17-cv-00507-SS Document 1 Filed 05/26/17 Page 3 of 4



10.        Venue is proper in this district under 28 U.S.C. §1441(a) because the state court where

the suit has been pending is located in this District and within this Division.

1 1.       State Auto will promptly file a copy of this Notice of Removal with the clerk of the

court in the pending State Court Action.

                                             III.
                                       JURY DEMANDED

12.        State Auto demands a trial by jury in its Original Answer filed contemporaneously

herewith.

                                               IV.
                                             PRAYER

          WHEREFORE,PREMISES CONSIDERED, Defendant, State Auto Property & Casualty

Insurance Company, prays that this case be removed to the United States District Court for the

Western District of Texas, Austin Division, and that further proceedings in the State Court

Action be discontinued, and that this Court assume full jurisdiction over such action as provided

by law.

                                              Respectfully submitted,

                                                 /s/Sterling Elza
                                              Sterling Elza
                                              Attorney-In-Charge
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                                              Alicia A. Murphy
                                              State Bar No. 24095005
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                                              STATE AUTO PROPERTY & CASUALTY
                                              INSURANCE COMPANY



DEFENDANT'S NOTICE OF REMOVAL                                                               Page 3
            Case 1:17-cv-00507-SS Document 1 Filed 05/26/17 Page 4 of 4




                                CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the above and foregoing was served upon
the Plaintiff by serving her counsel of record, Richard D. Daly, James Willis, and William X.
King, 2211 Norfolk Street, Suite 800, Houston, Texas 77098,(713) 655-1587, via certified mail,
return receipt requested, in accordance with the Federal Rules of Civil Procedure, on this the 26t
                                                                                                 h
day of May, 2017.

                                              /s/Sterling Elza
                                             Sterling Elza




DEFENDANT'S NOTICE OF REMOVAL                                                               Page 4
